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                                             April 23, 2020

BY ECF

Honorable Kenneth M. Karas
United States District Judge
Southern District of New York
300 Quaroppas St.
White Plains, NY 10601

      Re:    United States v. Gregory Cooper,
             08 Cr. 356 (KMK)

Dear Judge Karas:

       I write in reply to the government’s April 21, 2020 supplemental
opposition to Mr. Cooper’s motion for compassionate release (“Gov’t Supp.
Opp.”). Mr. Cooper suffers from several chronic conditions that place him at
high risk for severe illness from COVID-19, and he has already served a
substantial majority of his sentence. This Court should order him released.

1.    The BOP has now denied Mr. Cooper’s more recent request,
      mooting the parties’ dispute about exhaustion.

        Today, Mr. Cooper received notice that the BOP has denied his more
recent, pandemic-based request to bring a compassionate release motion on
his behalf. See Exhibit B (Letter from Warden Edge). Although the denial
letter is dated April 17, 2020, and is addressed to me, neither I nor counsel
for the government had previously received it. AUSA Martin obtained it and
provided it to me. The parties agree that the BOP’s denial of Mr. Cooper’s
request moots the exhaustion issue and that the Court may decide this
motion on the merits without further delay.

2.    Mr. Cooper is at grave risk from COVID-19.

       The government’s arguments about each of Mr. Cooper’s medical
conditions miss the forest for the trees: Mr. Cooper has a combination of
chronic conditions that in combination place him at very high risk for severe
disease or death if he contracts COVID-19 at MDC.
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       The best answer to the government’s arguments is the CDC’s
Morbidity and Mortality Weekly Report on the hospitalization rates and
characteristics of patients hospitalized with COVID-19 in March. Garg et al.,
Hospitalization Rates and Characteristics of Patients Hospitalized with
Laboratory-Confirmed Coronavirus Disease 2019 — COVID-NET, 14 States,
March 1–30, 2020, CDC, Morbidity and Mortality Weekly Report (Apr. 17,
2020) (“CDC Hospitalization Rates Report”), available at
https://bit.ly/3axbNho. It contains the following table:
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Mr. Cooper has each of the top three comorbid conditions associated with
COVID-19 hospitalizations:

       Hypertension. Mr. Cooper has a long history of hypertension, for
which he takes daily medication. Hypertension alone is a significant risk
factor for severe COVID-19 disease, establishing extraordinary and
compelling circumstances without more. See, e.g., United States v. Sawicz, 08
Cr. 287 (ARR), 2020 WL 1815851, at *2 (E.D.N.Y. Apr. 10, 2020). It is
irrelevant that “Cooper has failed to show that the MDC cannot appropriately
manage” his hypertension, Gov’t Supp. Opp. at 4, because he is not at risk
from hypertension itself; rather the point is that hypertension puts him at
increased risk of severe COVID-19 disease.

       Obesity. Mr. Cooper stands 6’4, weighs about 264 pounds, and has a
47-inch waist. The government observes that Mr. Cooper’s BMI of 32.1 is in
the “obese” range but not the “severely obese” range. Id. While it is true, as
the government notes, that the CDC has placed “severe obesity” on a non-
exclusive list of medical conditions that put individuals at high risk, there is
no basis for the government’s assertion that Mr. “Cooper’s weight does not
place him at higher risk.” Id. On the contrary, the CDC Hospitalization
Rates Report defines obesity “as calculated body mass index (BMI) ≥30
kg/m2,” and notes that “[a]mong 73 patients with obesity, 51 (69.9%) had
obesity defined as BMI 30–<40 kg/m2, and 22 (30.1%) had severe obesity
defined as BMI ≥40 kg/m2.” Another study found that obesity increases an
individual patient’s need not only of hospitalization but of intensive care and
invasive mechanical ventilation. See Simonnet et al., High prevalence of
obesity in severe acute respiratory syndrome coronavirus-2 (SARS-CoV-2)
requiring invasive mechanical ventilation, Obesity (Apr. 9, 2020) (“IMV
Study”), available at https://bit.ly/2KrVQ1v. That study defines “obesity” as
a BMI over 30 and “severe obesity” as a BMI over 35. It found obesity
present in 47.6% of cases requiring the use of a ventilator and severe obesity
in 28.2%.

       Diabetes. Mr. Cooper has a documented history of pre-diabetes and is
now experiencing tingling and numbness in his lower extremities, frequent
urination, sweating, and thirst. He recalls these symptoms from when he
was previously diagnosed with diabetes (or “pre-diabetes;” he had not made
the distinction). It makes sense that these symptoms have returned because
he is constrained to a sedentary lifestyle at MDC—his medical duty
classification forbids him even from engaging in sports—and his weight has
gone up. Although the government points to a hemoglobin test within the
upper bounds of the normal range, I understand that a hemoglobin test is
more like a trailing average than a snapshot of Mr. Cooper’s blood sugar and
therefore does not fully capture Mr. Cooper’s declining condition.
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      Mr. Cooper also has several other characteristics that elevate his risk:

       Age. Mr. Cooper is 52 years old. Although that does not place him in
the highest risk age cohort, it places him at materially greater risk than
younger individuals. The CDC published the following graphic in its
Hospitalization Rates Report:




       Sex. “Among 1,482 patients hospitalized with COVID-19, 74.5% were
aged ≥50 years, and 54.4% were male.” CDC Hospitalization Rates Report,
supra. “[T]he need for [ventilator use] was significantly associated with male
sex (p<0.05) and BMI (p<0.05), independent of age, diabetes, and
hypertension.” IMV Study, supra.

       History of smoking and drug abuse. I noted in my April 16, 2020,
that Mr. Cooper was a smoker for 30 years. The medical records that the
government appended as Exhibit E to its supplemental opposition
demonstrate that he also has a history of severe opioid, cannabis, and cocaine
abuse disorders. According to the NIH, “[b]ecause it attacks the lungs, the
coronavirus that causes COVID-19 could be an especially serious threat to
those who smoke tobacco or marijuana or who vape. People with opioid use
disorder (OUD) and methamphetamine use disorder may also be vulnerable
due to those drugs’ effects on respiratory and pulmonary health.” See NIH,
COVID-19: Potential Implications for Individuals with Substance Use
Disorders (Apr. 6, 2020), https://bit.ly/3az3RMK.

       Seizures. Although Mr. Cooper’s seizures do not fit neatly into any
publicized risk factor for COVID-19, they are part of the total mix of
conditions contributing to his poor overall health and vulnerability.
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3.     The BOP’s numbers offer no comfort.

       The government asserts that the BOP is “successfully mitigating” “the
very real threat the coronavirus poses for prisons.” Gov’t Supp. Opp. at 3.
That claim is hard to evaluate because the BOP is not conducting meaningful
numbers of coronavirus tests.

        The government writes that, as of April 16, only 5 MDC inmates out of
1,679 had tested positive for the virus.1 But only 12 inmates out of 1,679 had
been tested at all, and 16 staff members were also positive. On April 21,
MDC reported that 6 inmates are now positive (but the number tested
remained 12, suggesting a lag between testing and results), and now 23 staff
members are positive. https://www.nyed.uscourts.gov/coronavirus. The
government also notes that the BOP’s national website,
https://www.bop.gov/coronavirus/, is posting lower numbers for MDC. See
Gov’t Supp. Opp. at 3 n.1. At the time the government filed its supplemental
opposition, the BOP’s national website listed 3 positive inmates and 21
positive staff members. Today it lists 1 positive inmate and 23 positive staff.
It is concerning, to say the least, that the staff totals are consistent between
what is being disclosed locally pursuant to court order and what is reported
on the BOP’s website, while the inmate totals are very different—and,
somehow, falling.

        The disparity between the staff numbers and the inmate numbers is
due to a testing disparity. The staff have access to testing outside the
facility, while the inmates are tested only if they are so sick they must be
taken to the hospital.

       A useful point of comparison is GEO Queens, a private contract facility
that houses only federal inmates and is also reporting its numbers pursuant
to Chief Judge Mauskopf’s standing order in the Eastern District. Until
recently, GEO was not testing most symptomatic inmates. As of April 3,
GEO reported testing only 4 inmates, 1 of whom was positive. But GEO
subsequently decided to do more widespread testing of symptomatic inmates:
on April 14, GEO reported testing 37 inmates, 25 of whom tested positive; on
April 16, GEO reported testing 41 inmates, 36 of whom tested positive; and
on April 21, it reported testing 41 inmates, 38 of whom tested positive.

       Another point of comparison is an Ohio state prison that decided to
test every inmate, including those who were not symptomatic: they found
1,828 inmates—73% of the total prison population—had the coronavirus. See


1I understand that one of the individuals who tested positive was a cadre on Mr. Cooper’s
unit.
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NPR, 73% Of Inmates At An Ohio Prison Test Positive for Coronavirus (Apr.
20, 2020), https://n.pr/3bHXsQA. “109 staff members were also positive.” Id.

       Yet another point of comparison is the U.S.S. Theodore Roosevelt, an
aircraft carrier on which the Navy tested the entire 4,800-member crew.
With testing 94% complete, over 600 sailors had tested positive. “Roughly 60
percent of [those] who tested positive so far have not shown symptoms for
COVID-19 . . . .” Phil Stewart & Idrees Ali, Coronavirus clue? Most cases
aboard U.S. aircraft carrier are symptom-free, Reuters (Apr. 16, 2020),
https://reut.rs/2VvHh3u.

      In short, we have no idea how many people at MDC Brooklyn have the
coronavirus, but, at least among the inmates, it is likely many more than has
been reported so far. Notwithstanding whatever well intentioned efforts the
BOP is making, conditions of confinement increase the risk of transmission
and decrease the availability of testing and healthcare.

      It does not take long for even low numbers of positive tests to turn into
deaths in the correctional setting. On March 29, the BOP reported that five
inmates were positive for COVID-19 at FCI Oakdale. The same date Oakdale
reported the death of Patrick Jones the day before. Now there have been 7
deaths at that facility. At FCI Elkton, on April 2, there were only two
inmates who had tested positive for COVID-19, according to the BOP. The
same day, the first of 6 inmates at that facility died.

4.    Mr. Cooper has served a substantial majority of his sentence.

      Finally, the government points out that many of the cases in which
compassionate release has been granted during this pandemic have involved
defendants who have served a substantial portion of their sentence. See
Gov’t Supp. Op. at 5. That factor counsels in favor of granting Mr. Cooper’s
motion.

       As the government has conceded, Mr. Cooper has served a substantial
majority of his sentence—approximately 11 years—enough time for the
purposes of just punishment, respect for the law, and the avoidance of
unwarranted sentencing disparities. He poses no danger to the community
and, on the contrary, has prepared for his reentry by taking many release
preparation and self improvement courses within the BOP, including the
non-residential drug treatment program and courses on personal growth and
community resources. He has also positively engaged with the Aleph
Institute and has a reentry coordinator there. Cf. United States v. Millan, 91
Cr. 685 (LAP), 2020 WL 1674058 (S.D.N.Y. April 6, 2020) (granting
compassionate release to 57-year-old-man who has served 28 years of a life
sentence based on his extraordinary rehabilitation).
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              Mr. Cooper’s 11 years in prison also distinguish this case from two
       cases cited by the government in its supplemental opposition. See Gov’t
       Supp. Opp. at 4, 5. In United States v. Livingston, 18 Cr. 416 (ENV), 2020
       WL 1905202 (E.D.N.Y. Apr. 17, 2020) compassionate release was denied to a
       32-year-old man with pre-diabetes and no other risk factor. The defendant
       was in Criminal History Category IV and had been sentenced to 37 months’
       imprisonment just 3 months ago, in January 2020, for unlawful gun
       possession. In United States v. Zehner, 19 Cr. 485 (AT), 2020 WL 1892188
       (S.D.N.Y. Apr. 15, 2020), the 38-year-old defendant whose only cognizable
       risk factor was hypertension had been sentenced to a year and a day in only
       two months ago, in February 2020, for his role in stealing and distributing
       oxycodone pills from pharmacies where he worked.

                                                         *****

             Mr. Cooper has served enough time, and he should not be made to bear
       the medical risk of remaining incarcerated at MDC Brooklyn during this
       pandemic. The Court should grant his motion and reduce his sentence to
       time served.

                                                                        Respectfully submitted,
                                                                         /s/
                                                                        Clay H. Kaminsky
                                                                        Assistant Federal Defender
                                                                        Federal Defenders of New York
                                                                        (212) 417-8749

       CC:      AUSA Kathryn Moore Martin
The Court grants the application for compassionate release. As noted in this letter, the application is now fully exhausted,
based on BOP’s denial of the application on April 17, 2020. As for the merits, it is undeniable that Cooper suffers from
several medical ailments that individually and collectively place him in a high-risk category from COVID-19. As the data
provided herein and in counsel’s April 23, 2020 letter (citing a recent JAMA article) show, hypertension, obesity (as
distinguished from morbid obesity) and diabetes are high risk comorbidity factors. The Government notes that Cooper is
receiving treatment for his hypertension, but there is evidence that medical treatment for hypertension may add to the risk.
See L. Fang, G. Karakiulakis, and M. Roth, “Are patients with hypertension and diabetes mellitus at increased risk for
COVID-19 infection,” Vol. 8, No. 4 The Lancet, Apr. 1, 2020 (“Hypertension is . . .treated with ACE inhibitors and ARBs,
which results in an unregulation of ACE2. . . . Consequently, the increased expression of ACE2 would facilitate infection
with COVID-19. We therefore hypothesize that diabetes and hypertension treatment with ACE2-stimulating drugs
increases the risk of developing severe and fatal COVID-19.”). The Government also notes that Cooper is properly
categorized as obese, and not morbidly obese, but this still places Cooper in a higher risk category. And, while it is true
that pre-diabetes may be distinguished from diabetes, it hardly places Cooper outside the danger zone. Moreover, as
counsel for Cooper notes, it is the combination of these medical conditions, plus the fact that Cooper is now in his 50s that
places him in a higher risk category. While the MDC has undertaken substantial steps to address the spread of COVID-19,
it is undeniable that the risks of spreading the disease are inevitably higher in a prison setting, where social distancing is
much more difficult. Moreover, while Mr. Cooper committed serious crimes, which is why the Court imposed the sentence it
did, Mr. Cooper has served 11 years of that sentence and is due to be released as soon as July 2024, meaning that he has
served nearly 3/4 of the time of actual imprisonment (assuming he would receive good time credit). The Court also has
considered that Mr. Cooper has an alarmingly bad criminal history, but believes that the risk of re-imprisonment from
committing crimes while on supervised release should be a sufficient deterrent. Thus, the Court grants the compassionate
release request. Cooper’s supervised release conditions will be modified to include 18 months of home confinement to be
enforced at the discretion of the Probation Department. All other conditions that were imposed remain.

So Ordered.


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